Case 1:21-cv-20039-RNS Document 25 Entered on FLSD Docket 04/21/2021 Page 1 of 12



                                                                               FILEDBY 8 G' -D.c.
                           U N ITED STA TE S D ISTR ICT CO U R T
                                           forthe                                    AF2 21 2221
                                 Southern DistrictOfFlorida                           ANGELA E.NOBLE
                                                                                      CLERK U S DISQ CL
                                      M iam iD ivision                               s.o.oFfG.-MIAMI

           JoeM orford
             Plaintiff

                                                        CivilAction No.     1:21-cv-20039            .

         M aurizio Cattelan
             D efendant

                                               CLA IM

          1,Joe M orford,plaintiff,created an artistic expression in 2000 entitled çEBanana &
  Orange.''
          In 2020 1discoveredthatthework hadbeen inisappropriated by som eonenam ed
  M aurizio Cattelan who claimed itashisoriginalcreation.Theaccepted gallery photo ofthe
  work can beviewed here:hûps://en.wikipedia.org/w ii/com edian ta> ork)
                                                                    -

          ldiscovered hisplagiarism when itbecam eaviralsensation onlinetheresultofits
  success atA rtB aselin M iam iB each in 2019. H is work w asentitled ûtcom edian''and w asa
  replication ofthe banana section ofm y w ork GçBanana & Orange.'' H e had sim ply extracted the
  heartofm y w ork and claim ed itashisow n originalcreation. Ithen registered m y w ork w ith the
  copyrightoffice and shortly thereafter filed suitseeking profitsgenerated 9om m y
  misappropriatedwork aswellasinjunctivereliefandcourtcosts.
         1.1haveproofofmyorigin dateviawitnessaffidavits(2000)anduneditedonlineposts
  (2008,2015),whichestablishdatesfar-in-advanceofthedefendant'sknowndisplayts)(2018).
  17U.S.Codej 102-Subjectmatterofcopyright:lngeneral(alcopyrightprotectionsubsists,in
  accordancewith thistitle,in originalworksofauthorship fixed in anytangiblem edium of
  expression,now know n or laterdeveloped,from which they can be perceived,reproduced,or
  otherwisecommunicated,eitherdirectly orwith the aid ofamachine ordevice.
         2. Ihave proofofaccess to m y w ork since 2000 and,m ore specitically,intenzational
  platforming(online)withoutinterruptionsince2008.Theproofofworldwideaccesssince2008
  isnotsim ply speculation;suffice itto say the provided evidence exceedsthe m inim um threshold
  ofproofallowingformom than simpleinferenceofaccessestablished,which wasrejectedin
  (SeeSellev.Gibb,567F.Supp.1173(N.D.111.1983)).Thecitedinstancescanbeconfirmedto
  havebeen online w ith neitheredits or respite since the stated tim e.
          3. The sim ilarity betw een the two w orks ism ore than substantial--itis striking. They
  are the exactsam e visualpresentation w ith only nom inalvariations. A sw ell,the ingingem ent
  m eeting the burden ofboth Extrinsic and Intrinsic testis m oreover,to the pointw here Nan
  average lay observerw ould recognize the alleged copy ashaving been appropriated from the
  copyrightedwork.'''(OriginalAppalachianArtworks,Inc.v.ToyLofq684F.2d821,829(11th
  Cir.1982)(quotingDurham Industries,lnc.v.TomyCorp.,630F.2d905,911(2dCir.1980$1.
         4.ThegenreitselfofGtwallsculpmre''or<:conceptualart''isnotcopyrightable(See
  Scènesà.faire)also(SeeHerzogv.CastleRockEntertainment);andofparticularrelevancethis
    Case 1:21-cv-20039-RNS Document 25 Entered on FLSD Docket 04/21/2021 Page 2 of 12




      category doeslend itselfto limitlesspossibilitiesform edium and m aterials,whichm akeiteven
      m ore blatantthatthe tw o w orks should end up w ith the exacttwo incongruous m atelials
      displayed in the sam e m arm er.
              5. The contextand intentofthe defendant'sw orks is significantin thatthe infringem ent
      happened betw een two piecescreated asçtart.''Thisisimportantbecausem y work wasnot
      simply doneasarandom fnzitdisplay in am arketwhich inspired an artist,norwasitreali4ed as
      somedrunken indulgencewherein thephoto endedup on socialm edia and became artistic
      inspiration.M y work w asoriginated asan artistic expression and theinfringersimply replicated
      itusing arealbanana,which isnothing m orethan acrudeand obviousattempttohidethe
      plagiarism . ttsuch cases are consistentw ith the generalprinciple stated in 1 M .and D .
      Nimmer,NimmeronCopyright,(1989)Kt'
                                       l'
                                        hefactthataworkinonemedium hasbeencopied
      from awork in anothermedium doesnotrenderitany lessa 'copy''.
              6. Sim plicity doesnotequalcom m onplace asan infinite num berofsim ple arrangem ents
      areirlherently incongruousorastronom ically unlikely. Furtherm oresimplicity isestablished as
      tonotbeafactorindeterminingasdetiningal'tstandardforprotection (SeeFeistPubs-,Inc.v.
      RuralTel.Svc.Co.,Inc.,499 U.S.340(1991))i.e.theGtsweatofthebrow''doctrinewherein
      thestandard fordeciding whetherawork can gain copyrightprotection isitsoriginalityrather
      than itscreator's effort. Thisparticular arrangem ent,though sim ple,isunique and the
      defendant'sreplication wastheresultofintentionalim itation. The sim plicity isthepoint. W hy
      are there nottw o pieces oftapo--orthree bananas? W hy notthree plantains and fourpiecesof
      Packing tw ine?                                                   '
              7.Thefame ofthedefendantasan çfartist''should notbe construed asacceptableexcuse
      forthecopying ofmy expression in thathisplagiarism could elevatethevisibility ofmy work.
      M isappropriationbythefamousisnoexcuseaswasstatedin(SeeRogersv.Koons(1992))
      tfrf'
          he copying wasso deliberateasto suggestthatdefendantsresolved so long asthey were
      significantplayersin theartbusiness,and the copiesthey producedbetteredthepriceofthe
      copiedwork by athousand toone,theirpiracy ofalesswell-known artist'swork would escape
      beingsulliedbyan accusation ofplagiarism.(CARDAM ONE,CircuitJudgel.''
              8. The relevance ofexperts in this case isofno consequence in thatthe overriding issue
      here isthe visualsim ilarity between the tw o pieces and one notneed to study artto com eto that
      conclusion. A ny reasonableperson can m ake a relevantobservation upon sim ple visual
      inspection(SeeJenkinsv.Jury,No.5:07-cv-133-Oc-GRJ,2009W L 1043965,at*4 & n.24
      (M .D.Fla.Apr.16,2009)(findingsculpmresdtstrikinglysimilar''andnotingthatKçexpert
      testimony ...(wasqurmecessary ...becausethis(wasjnotaEtechnical'tieldinwhichthetrier
      offactgwouldqnot(bejabletomakegsuch aldetennination''(internalquotationmarksomitted)
      (quotingKentv.Revere,No.84-798-C1V-01V -18,1985W L 6453,at*7(M .D.Fla.Oct.28,
      1985:): '
              9. Thedefendantdid nothavemy penuission,orright,to excerptmy piece as
      derivation. M y w ork consists ofa banana and orange separated into tw o independentsections.
      The banana cannotbetaken outasitfunctions as a self-contained heartofthe w ork. The
      infringerhas co-opted the banana claim ing itashis ow n originalexpression;and notincluding
      the orange in hispiece doesnotprotecthim 9om a legitim ate charge ofcopyrightingingem ent
      inthattheonewhocreatedtheartworkmaintainssolepossession;includingdedvationin(See
'
      Steinbergv.ColumbiaPicturesIndustries,Inc(1987)wherethefindingestablishedthe
      originatoroftheartworkownsthecopyrightagainstderivation).
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         10. Thedefendantcannotclaim fair-useassimplecopying ofawork isnot
  tGcommentary''orççcriticism''itismisappropriation(SeeRogersv.Koonsl;norwasit
  Sçcommercialparody''(SeeCampbellv.Acuff-RoseM usic,Inc.).
         11. Theduration oftheartist'swork dueto theuseoforganicmaterialdoesnot
  accomplish a Estransitory duration''defenseaseitherworksarein altfixedm edium oftangible
  expression.'' The defendant'scopy ofm y w ork is sufticiently perm anentorstable to perm ititto
  beperceived,reproduced,orotherwisecommunicated foraperiod ofmorethan transitory
  duration(SeeCartoon Network v.CSC Holdings).
         12.Thecomplaintrequestedreliefviaprofits,expensesandinjunctivereliefinEtthe
  cessation ofsale,distribution and display ofany infringing m aterial-''Itisvitalthatallviolating
  materialberemovedasin(Rogersv.Koons,960F.2d301(2dCir.1992)Holdingthatrequiring
  a defendantto t'
                 urn over infringing w orks ''isan equitable rem edy issued underthe broad pow ers
  vested in atrialjudge').I believeitreasonableforal1plagiarizingworkstoberemovedas
  equitable rem edy.
          13.Thiscomplaintisnotastatutory claim . And though itism y contention thatthe
  ingingem entwasw illful,because1am seeking profitsin thiscaseldo nothavetheburden of
  provingwillfulinfringement(SeeRomagFastenerslnc.v.FossilInc.eta1.,casenumber18-
  1233).Theissuehereisnotwhethertheactofinfringementwasaccidental,coincidenceor
  intentionalitissubstantial/striking sim ilarity.And tothatend,Isubmitthetwoworksare
  strikinglysimilarandthata1lstatedreliefbeawarded(17U.S.Codej504-Remediesfor
  ingingement:Damagesandprofits).Additionally (See,e.g.,17U.S.C.j504(b)(2012)
  (specifyingburdensofproofwhenplaintiffseeksrecoveryofthealleged infringer'sprofitsl;j
  504(c)(2012)(specifyingburdensofproofconcerningwillfulorinnocentinfringementwhen
  plaintiffseeksrecoveryofstatutorydamagesl;and j1203(c)(4)-(5)(2012)(specifyingburdens
  ofproofwith respectto enhancem entsand limitationsofstatutory dam agesavailablefor
  violationsofjj 1201and 1202regardingtechnologicalprotectionmeasuresand copyright
  managementinfonuation).



                                                                        ( #'

                                                                               J      r ord,Pro Se
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             REQ U EST FO R INJUNCTIVE R ELIEF

                                          R elief

  The complaintréquested reliefvia profits,expenses and injunctive reliefin ''
                                                                             the
  cessation ofsale,distribution and display ofany infringing material.'' Itis vitalthataII
  violating materialbe removed as in (See Rogersv.Koons,960 F.2d 301 (2d Cir.1992)
  Holding thatrequiring a defendantto turn overinfringing works 'is an equitable remedy
  issued underthe broad powersvested in a trialjudge''). I believe itreasonableforaII
  plagiarizing works to be rem oved as equitable rem edy.
                                              *



  Reference:

  17 U.S.C.j 503.Remedies forinfringem ent:Im pounding and disposition of
  infringing articles
  httns://- .copvriqht.aov/titlel7/gzchans.htm l

  (a)(1)Atanytime while an action underthistitle is pending,the courtmayorderthe
  im pounding,on such terms as itmay deem reasonable-
  (A)ofaIIcopiesorphonorecordsclaimed to have been made orused inviolation ofthe
  exclusive rightofthe copyrightow ner;
  (B)ofaIIplates,molds,matrices,masters,tapes,film negatives,orotherarticles by
  m eans ofwhich such copies orphonorecords m ay be reproduced;and
  (C)ofrecords documenting the manufacture,sale,orreceiptofthings involved in any
  such violation,provided thatany records seized underthis subparagraph shallbe taken
  into the custody ofthe court.
  (2)Forimpoundments ofrecords ordered underparagraph (1)(C),the courtshallenter
  an appropriate protective orderwith respectto discovery and use ofany records or
  inform ation thathas been im pounded.The protective ordershallprovide forappàopriate
  procedures to ensure thatconfidential,private,proprietary,orprivileged information
  contained in such records is notim properly disclosed orused.       .
  (3)The relevantprovisions ofparagraphs (2)through (11)ofsectiôn 34(d)ofthe
  TrademarkAct(15 U.S.C.1116(d)(2)through (11))shallextendto any impoundmentof
  recordsordered underparagraph (1)(C)thatis based upon an ex parteapplication,
  notwithstanding the provisions ofrule 65 ofthe FederalRules ofCivilProcedure.Any
  referencesin paragraphs (2)through (11)ofsection 34(d)oftheTrademarkActto
  section 32 ofsuch Actshallbe read as references to section 501 ofthis title,and
  references to use ofa counterfeitm ark in connection w ith the sale!offering forsale,or
  distribution ofgoods orservices shallbe read as references to infrlngem entofa
  copyright.
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  (b)Aspadofafinaljudgmentordecree,the courtmayorderthedestructionorother
  reasonable dispositio-h ofaIIcopies orphonorecords found to have been m ade orused
  in violation ofthe copyrightowner's exclusive rights,and ofaIIplates,molds,m atrices,
  m àsters,tapes,film negatives,orotheradicles by m eans ofwhich such copies or
  phonorecords m ay be reproduced.

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  G uggenheim

  The New York Tim es
  lt's a Banana.It's Art.And Now It's the Guggenheim's Problem
  httnsr//- .nvtim es.com/zozo/og/l8/ads/desian/banana-ad-nuncenheim .htm l

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  M aurizio Cattelan's ''Com edian''was gifted to the Guggenheim M useum
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  nuncenheim -m useum

  The A rtNew spaper
  Cattelan's notorious banana finds a hom e atthe Guggenheim
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  the-nunnenheim
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  Spreadshirt
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  vou-can-buv-it-on-a-t-shid-ble3c4ssfbf3                       '

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                      S U M C E RTA IN SO U R C ES

                                       Sales

                                 d'C om edian''
                    ArtBasel,MiamiBeach (December5-8,2019)

         W ork                    Source                Q uantity         Price
   W allSculpture       W SJ,New YorkTimes,PBS              1           $120,000.00
   W allSculpture       W SJ,New YorkTimes,PBS              1           $120,000.00
   W allSculpture       W SJ,New YorkTimes,PBS              1           $150,000.00
   ArtistProof          W SJ,New YorkTimes,*PBS             1           $150,000.00
   ArtistProof          W SJ,New YorkTimes,*PBS             1           $150,000.00
                                         TOTAL              5           $690,000.00
                                                       *PBS -Price Graphic,attached.


  SOURCES

  W SJ
  By Brian P.Kelly
  Dec.9,2019 3:46 pm ET
  httns://- .ws'l.com/adicles/in-defense-of-m aurizio-cattelans-banana-lls7sgz44oz
  Excerpt:
  1)d
    fThisworkby Mr.Cattelan,an Italian artistknown asa prankster,was scooped upfor
  $120,000.Anothereditionquicklywentforthe same price.A third wasIaterboughtin
  the ballparkof$150,000.Bythe end ofthe weekend,two ''artist's proofs'
                                                                      'ofthework
  had also been acquired by museums(though the gallerydeclined to saywhich onesor
  how muchthey paidl.''                                       '


  New York Tim es
  By Robin Pogrebin
  Published Dec.8,2019
  Updated Sept.18,2020
  httns://- .nvtim es.com/zolg/lz/o8/ads/desinn/banana-rem oved-ad-basel.htm l
  Excerpts:
  1)U he artistMaurizio Cattelan- whose fruitpinnedto the wallwith gray ducttape was
  soldthree timesatArtBaselMiami,for$120,000 to $150,000 each time- and his
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   gallery Perrotin announced on Sunday,the Iastday ofthe fair,thatthe banana had
   been rem oved from its b00th because ofthe M ona Lisa-like attention itw as getting.'
  2)'Two ''artistproofs''(extra prints signed as partofa Iimited edition)weresoldto
   unidentified m useum s.'
                                              *


  PBS
  THE ART ASSIGNM ENT
  The $150,000 Banana
  Season 6,Episode 19
  Aired:01/21/20
  By Sarah UristGreen
  httnsr//- .pbs.orc/video/the-lsoooo-banana-ldigkm/
  Excerpt:
  Video Text(below)starting @ 1:40/11:50
  1)''Gallerie Perrotinwasofferingthree editionsofthe workfor$120,000.00 each.Two
   ofthose soldvel'yquickly and then the dealerraised the price to $150,000.00forthe
  third,which also sold. There were an additionaltwo artistproofs ofcom edian thatwere
  both sold to museumsby the end ofthe fair. (Video 1:57 /graphicindicating Proofs
  SOLD @ $150K each). Now,artistproofs aregenerallythe smallnumberofprintsin a
  Iim ited edition thatan adisthangs onto fortheirown collection orto hold back and sell
  Iateron to som eone im portant. They're often regarded as specialand can sellformore
  than the originaledition even though,yes,they are technically they are the exactsam e.''

                                              *



   New York M agazineN ulture
  ART lUPDATED DEC.8,2019
  Maurizio Cattelan Duct-tapes Bananato W all,Makes $240,000,Credits New York
   By christopherBonanos
   @ heybonanos
   https://ww .vulture.com/zolg/lz/man-duct-tanes-banana-to-wall-m akes-usdz4o-
   0O0.htm I

   ''Maurizio Cattelan Duct-tapesBanana to W all,Makes$240,000,Credits New York''
   ''W hathe cam e up w i
                        th forub was a photograph ofa banana duct-taped to a wall.This
   week atArtBaselM iam iBeach,citing ourcom m ission as 'l
                                                          the inspiring source,''he
   hung itsthree-dimensionalrepresèntation.lt's priced at$120,000.1'
   'The new work has been produced in his usualedition(notto say 'lbunch'')ofthree
   pieces plus two adist's proofs.Two ofthe three have already been sold to unnamed
   collectors'
             ,Cattelan knows one ofthem ,and the person 'totally m akes sense as the


                                                                               Page 1 of3
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  buyer.''He's notin M iam iforthe fair   he doesn'tgo    and,in his New York apartment
  this morning,he said,''Ijustate one ofthe two adist's proofs.''


  New York Tim es
  A (Grudging)Defense ofthe $120,000 Banana
  By Jason Farago
  Published Dec.8,2019
  Updated Sept.18,2020
  httns://- .nvtim es.com/zolg/lz/o8/ads/desinn/a-critics-defense-of-cattelan-banana-
   htm l
  As to w hy M r.Cattelan's banana has gripped the public im agination,ithas som ething to
  do w ith its price- $120,000 to $150,000,in anedi
             .                                      tion ofthree andtwo artists'proofs
  -  and the em peror's-new-clothes im pression ofthe internationalcollecting class
  fawning overitatArtBasel.


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        Joe M orford A dist
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                  M orford v.Cattelan
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     YouTube
     LobsterParlourArtIJoe Morford AbstractCollection 7
     d'Banana & O range''
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